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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig               *          MDL No. 2179
“Deepwater Horizon” in the Gulf               *
of Mexico on April 20, 2010                   *          SECTION “J”
                                              *          JUDGE BARBIER
This Document Relates to:                     *
State of Veracruz, Repub. of Mexico v.        *
  BP, PLC, No. 10-4239                        *          MAGISTRATE NO. 1
                                              *          MAGISTRATE SHUSHAN
                                              *
*   *    *   *   *   *    *   *   *    *    * *


                                           ORDER

        Considering the Motion of Defendants Anadarko Petroleum Corporation and Anadarko

E&P Company LP to Dismiss the First Amended Complaint of the State of Veracruz, Republic

of Mexico Pursuant to Fed. R. Civ. P. 12(b)(6):


        IT IS HEREBY ORDERED that all claims against Defendants Anadarko Petroleum

Corporation and Anadarko E&P Company, LP are dismissed.


        New Orleans, Louisiana, this _____ day of May, 2011.




                                            __________________________________
                                            UNITED STATES DISTRICT JUDGE
